









Petition for Writ of Mandamus Denied and Memorandum Opinion filed
February 9, 2006









Petition for Writ of Mandamus Denied and Memorandum
Opinion filed February 9, 2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-06-00016-CV

____________

&nbsp;

IN RE FARMERS INSURANCE EXCHANGE, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

On January 9, 2006, relator Farmers
Insurance Exchange filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t Code Ann. '22.221 (Vernon 2004); see also&nbsp; Tex. R. App. P. 52.1. 

Relator has failed to establish it is entitled to mandamus
relief.&nbsp; Accordingly, we deny relator=s petition for writ of mandamus.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Petition Denied
and Memorandum Opinion filed February 9, 2006.

Panel consists of
Chief Justice Hedges, and Justices Yates and Anderson 





